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                              file_2016-06-27_171.txt
Return-Path: <bounce+77bbcb.46a420-abuse=grandecom.com@arpanet-ip.com>
Received: from so254-56.mailgun.net (so254-56.mailgun.net [198.61.254.56])
        by mxin02.lsn.net (8.14.4/8.14.4) with ESMTP id u5RAkCIE008085
        for <abuse@grandecom.com>; Mon, 27 Jun 2016 05:46:12 -0500
X-Virus-Status: Clean
X-Virus-Scanned: clamav-milter 0.98.4 at av02.lsn.net
DKIM-Signature: a=rsa-sha256; v=1; c=relaxed/relaxed; d=arpanet-ip.com; q=dns/txt;
 s=k1; t=1467024372; h=Date: Message-Id: From: Content-type:
 MIME-Version: Subject: To: Sender;
 bh=zmo3EfpQljakNDke4rkJnZLiPyK+mnEDHv4qwIgIIfs=;
b=ozr5L/PnfLunWFOC+g1ZubyTHS7jq21YGQucXITZQSc1htSQHkNPHe4IsQ5399lQossJCxl2
 JDFGj1njprOo1XZttHpwi9y7HSaNfm4kVs47o/B1rf0ZJ0Y2NaTtsP0Gaawjtfo9lnMFx74d
 hUooatGIqAU7qC0X0c11l5vUxuU=
DomainKey-Signature: a=rsa-sha1; c=nofws; d=arpanet-ip.com; s=k1;
 q=dns; h=Sender: To: Subject: MIME-Version: Content-type: From:
 Message-Id: Date;
 b=NO3DJk0fQZ9XpYmj/BBNdKzsId7PSvL4IPjtDREWvb01MJToFTP5X9lRaH6UFCgbEvLGjK
 YZ6Mm0THCSkqZ7s1tsTWUU9NKjfw78PnSHm5Z1e4qsikej72UjOjSgHbr8laNcCLfL0qQQZa
 nal8v6tMwLf/DlRjNMGIdaB4y4uvc=
Sender: copyright=ip-echelon.net@arpanet-ip.com
Received: from arpanet-ip.com (Unknown [5.206.225.54])
 by mxa.mailgun.org with ESMTP id 577103f3.7f5d16aae7a0-in6;
 Mon, 27 Jun 2016 10:46:11 -0000 (UTC)
Received: by arpanet-ip.com (Postfix, from userid 0)
        id 533151C4DD; Mon, 27 Jun 2016 08:37:52 +0000 (UTC)
To: abuse@grandecom.com
Subject: Important notice regarding your Internet activity
X-PHP-Originating-Script: 0:notice.php
MIME-Version: 1.0
Content-type:text/html;charset=UTF-8
From: Copyright <copyright@ip-echelon.net>
Message-Id: <20160627083752.533151C4DD@arpanet-ip.com>
Date: Mon, 27 Jun 2016 08:37:52 +0000 (UTC)

<p><strong>PLEASE FORWARD THIS ENTIRE NOTICE TO ACCOUNT HOLDER OF IP ADDRESS:
167.62.126.248</strong></p>
<p>&nbsp;</p>
<p>Dear Sir/Madam and/or Sir/Madam Subscriber,</p>
<p>We are writing this message on behalf of Home Box Office (HBO), with physical
offices located at 1100 Avenue of the Americas, New York, NY 10036, United States
(Attention: Director of Anti-Piracy).<br><br>We have received information leading us
to believe that an individual has utilized the IP address 167.62.126.248 at the
noted date and time below to host and/or facilitate the downloading and/or streaming
of content (listed below) in which Home Box Office (HBO) is the copyright owner of
such content (the "Home Box Office (HBO) Properties"). No one is authorized to
exhibit, reproduce, transmit, or otherwise distribute Home Box Office (HBO)
Properties without the express written permission of Home Box Office (HBO), and the
unauthorized distribution of Home Box Office (HBO) Properties constitutes copyright
infringement. This conduct may also violate other laws, international law, and/or
treaty obligations.<br>
</p>
<p>The title in question is: Game of Thrones As the owner of and/or subscriber using
the IP address, HBO requests that you immediately take steps to prevent further
downloading or uploading of HBO content without authorization.</p>
-------------- Infringement Details ----------------------------------<br>
Title: Game of Thrones<br>
IP Address: 167.62.126.248<br>
Port: 49161<br>
Timestamp: 2016-06-27 03:02:13 UTC<br>
Type: BitTorrent<br>
BitTorrent Torrent Hash: b41ec985f773acee969e454c72344896e8c9ea56<br>
Filename: Game.of.Thrones.S06E09.720p.HDTV.x264-AVS<br>
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                              file_2016-06-27_171.txt
Filesize: 1.32 GB<br>
---------------------------------------------------------------------<br>
<p>The information in this notice is accurate. We have a good faith belief that use
of the material in the manner complained of herein is not authorized by the
copyright owner, its agent, or by operation of law.
<br>We declare under penalty of perjury, that we are authorized to act on behalf of
Home Box Office (HBO).</p>
<p>&nbsp;</p>
Respectfully,<br>
Adrian Leatherland CEO<br>
Address: 6715 Hollywood Blvd, Los Angeles, 90028, United States




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